Case 3:09-cV-00615-WWE Document 1 Filed 04/15/09 Page 1 of 7

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UNITED STATES DISTRICT C()URT v;»- ~»~ k rig :, _`
DISTRICT OF CONNECTICUT ' ' `

 

KONRAD KORZENIOWSKI, : CIVIL ACTION NO.

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Plaimiff, z ; it t , x v
v.
NrssAN MoToR ACCEPTANCE CoRPoRATloN,

Defendant. : APRIL 15, 2009

 

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1441(a) and 1446, the defendant, Nissan Motor Acceptance
Corporation (“NMAC”), hereby petitions to remove to the United States District Court for the
District of Connecticut a certain action currently pending in the Connecticut Superior Court, Small
Clairns Session at New Britain, captioned Konrad Korzeniowski v. Nissan Motor Acceptance
Co;poration, SCANB-154866 (the “State Court Action”). ln support of this petition, NMAC
represents as follows:

1. On or about March 30, 2009, initial process in the State Court Action, consisting of
a Srnall Claims Writ and Notice of Suit and answer page, Was served on NMAC’s statutory agent,
LeXisNeXis Document Solutions, Inc. A copy of that initial process is attached hereto as Exhibit A.

2. This action is a civil action arising under federal lavv, the Fair Credit Reporting Act,
15 U.S.C. §§ 1681 et seq.

3. This action is removable to the United States District Court pursuant to 28 U.S.C. §

1446(a), because it is an action involving a federal question, over Which this court has original

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jurisdiction pursuant to 28 U.S.C. § 1331.

4. Venue in this district is proper, as the plaintiff resides in New Britain, Connecticut,
and commenced the action in the New Britain Judicial District of the Connecticut Superior Court.

5. The process attached hereto as Exhibit A constitutes all of the process, pleadings
and orders served upon the defendant, and is submitted herewith as required by 28 U.S.C. §
1446(a).

6. Pursuant to 28 U.S.C. § 1446(d), the defendant NMAC Will give Written notice of
this Notice of Removal to the plaintiff and promptly file it With the clerk of the Superior Court,
Small Claims Session. A copy of NMAC’s Notice of Filing Notice of Removal and Automatic

Stay is attached hereto as Exhibit B.

DEFENDANT,
NISSAN MOTOR
ACCEPTANCE CORPORATION

By /// ///

miam` J o'sunivan (ctés452)
Baker O’Sullivan & Bliss PC
Putnam Park, Suite 100

100 Great Meadovv Road
Wethersfleld, CT 06109-2371
Phone (860) 258-1993

FaX (860) 258-1991
o’sullivan@boblawyers.com
Its Attomey

Case 3:09-cV-00615-WWE Document 1 Filed 04/15/09 Page 3 of 7

CERTIFICATION

l hereby certify that on April 15, 2009, a copy of the foregoing was mailed, postage
prepaid, to the following pro se party of record:

Mr. Konrad Korzeniowski
51 Rackliffe Drive

New Britain, CT 06051
(pro se plaintiff)

/// //47

William J. O’Sullivan

Case 3:09-cV-00615-WWE Document 1 Filed 04/15/09 Page 4 of 7

 

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New Britain Superior Court

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in NAME Aoonsss AND zip cope DF DEFENDANT n NAME Aooness AND th coue`oF DF.FENDANT #2
D Nissan Motor Acceptance Corporatlon D Lexisncxis Docum Solutions inc
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F oauas ,Tx 75256 F Austin 'rx 73701
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YOU ARE BE|NG SUED THE PLA|NT|FF(S) CLAlIVlS YOU OWE -. 5 1 000 00 COURT
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rs , FOR THE FOLLOW|NG REASONS'
Placing inquires on my credit reports on 10I21!2008 Trans Union without my written or verbal authorization Violation of law
FCRA ACT 15 USC §,1582n(a)1b. Statutory Damages_ Violation of §604. Permissible purpose of consumer reports 115
U.S.C§IGBlb] Fail to comply with Fair Credit Reporting Act (FCRA) 15. U.S.C §168] et seq. Statutory Damages based on
Vio|ation of law FCRA ACT 15-USC § 1682 n(a)l b

The undersrgnodg being duly sworn, deposes and says that the signer has read the claim anci, to the best cf the sl`gnefs knowledge
information and beliel, there is good ground to suppon it.
' TYPE m NAME mm ring or manson smach AT LEFT

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m )The undersigned deposes and says: M|L_¢TA RY SERWCE AFHDAV}U FOR COURT U$E ONLY
m that the defendant is in the military or naval service of the United Siates_
C] that the undersigned is unable to determine whether or not the detendant(s) in this action

are in the military or'naval service of the United States.
that no defendant in this action is in the military or naval service al the United States, and that_ vchY RIVAS

to the personal knowledge of the undersigned {srare facts showing defendant is not in .NDTAR¥ PUBLI¢

such service

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EXHIBIT A

 

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. , JD-CV-40A1, Rev 3I2006
State of Connecticut ~ Superior Court

Centralized Small Claims
80 Washington Street
Hartford, CT 06106-

Tol| Free in Connecticut (866) 383-5927 Local Haitford Area (860) 756-7800
Fax: (860)756-7805 www.jud.ct.gov

 

  

isisaa
NlSSAN MOTOR ACCEPTANCE CORPORATION
P.O. BOX 660366

DALLASl TX 75266-

 

 

 

 

 

Docket No~ = SCANB-154866 KoRzENioWsKi vs. NissAN ivioToR AccEPTANcE Answer
Venue: SCANB CORPORATION
YOU MUST ANSWER TH|S CLA|M BY: READ THE |NSTRUCT|QNS ON
April 24, 2009 THE BACK OF THE WR|T AND
NOTlCE OF SU|T.

YOUR ANSWER MAY BE MA|l_ED, FAXED OR HAND |F YOU HAVE QUESTIONS’ CALL THE
DELlVERl'_-'.D AND MUST BE RECE|\/ED ON OR
BEFGRE THE ANSWER DATEl TELEPHONE NUMBER LlSTED ABOVE.

 

 

 

 

 

lN RESPONSE `l`O THE ENCLOSED CLA|l\/l FOR THlS A|\/|OUNT plus Court COStS, if any

 

$1,000.00

 

 

TH|S lS MY ANSWER: (Check one box)

 

 

 

 

 

| disagree with the claim because:

(State below why you disagree Be brief but specific At trial you will be able to explain your defense and submit
documentation

 

 

| admit l owe the claim but desire more time to pay for the following reasons:

(You may suggest a method of payment or a timetable for and amount of deferred payments.)
DO NOT SEND PAYMENT(S) TO THE COURT. ALL PAY|VIENTS ARE TO BE MADE DIRECTLY TO THE FOLLOW|NG:

KONRAD KORZENlOWSKl, 51 RACKLIFFE DR|VE NEW BRlTAlN , CT 06051-, (860)595-9436

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sigried n iPn'nt Name and iitl'e of Person Si'grii'ng l n b l Data Si'gn'ed'
Address (No., Sireet, Town,Zijb Oode) y TelephonagNo. w Jun's `No.u l
f )

 

1_ YOU DO NOT HAVE TO COME TC> COURT ON THE ABOVE DATE EXCEPT TO SUBM|T A WR|TTEN ANSWER |F YOU HAVE NOT
D`ONE SO BY THAT DATE. lt is not the date of trial. |f you have filed an answer contesting the claim the clerk w||| schedule a date for the
trial and will send you a written notice of the date and time to come to court.

2.. Faiture to file an answer by the answer date may result in a default judgment against you. lt the plaintiif(s) win the case and you fail to

pay the judgment the plaintiff(s) may try to collect the money owed by getting permission from the court to have money taken out of your
wages, financial accounts or other property.

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DOCKET NO. SCANB-]54866 : SUPERIOR COURT

KONRAD KORZENIOWSKI : CENTRALIZED SMALL
' CLAIMS

VS. : AT HARTFORD

NISSAN MOTOR ACCEPTANCE
C()RPORATION : APRIL 15, 2009

NOTlCE OF FILING OF NOTICE OF REM()VAL
AND AUTOMATIC STAY

Pursuant to 28 U.S.C. § l446(d), the defendant, Nissan l\/Iotor Acceptance
Corporation, hereby gives notice that on this date it has filed a Notice of Remova] and
supporting papers With the United States District Court for the District of Connecticut. A
copy of the Notice of Removal, exclusive of its exhibits, is attached hereto as Exhibit A.
Pursuant to 28 U.S.C. § l446(d), the Connecticut Superior Court, Small Claims Session
is to proceed no further in this case unless the case is remanded back to this court by
order of the United States District Court.

DEFENDANT,
NISSAN MOT()R
ACCEPTANCE CORPORATION

By //L/)/////

1 iam J. O' Si/illivan Esq
Baker O'Sullivan & Bliss PC
Putnam Park
100 Great Meadow Road
Wetherst`ield, CT 06109
Phone (860) 258-1993
Fax (860) 258-l 991
o’sullivan@boblawyers.com
Its Attomeys

EXHIBIT B

Case 3:09-cV-00615-WWE Document 1 Filed 04/15/09 Page 7 of 7

CERTIFICATION

1 hereby certify that on April 15, 2009, a copy of the foregoing Was mailed,
postage prepaid, to the following pro se party of record:

Mr. Konrad Korzeniowski
51 Rackliffe Drive
New Britain, CT 06051

wiiiiam 11 o’suii'ivan

